                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                             SOUTHWESTERN DIVISION

JOHN BURCH,                                          )
                                                     )
                Plaintiff,                           )
                                                     )
       v.                                            )       No. 19-05053-CV-SW-DPR-SSA
                                                     )
ANDREW M. SAUL,                                      )
                                                     )
                Defendant.                           )

                                             ORDER

       Before the Court is Plaintiff’s Application for Attorney’s Fees. (Doc. 14.) Pursuant to the

Equal Access to Justice Act, Plaintiff moves for an award of attorney fees in the amount of

$4,237.25. (Doc. 14-1.) Defendant has “no objection” to the relief requested. (Doc. 16.) Upon

review, the Court finds that Plaintiff is entitled to an award of attorney fees under the EAJA, and

the amount requested is reasonable. Also, per Plaintiff’s Affidavit and Assignment of EAJA Fee

(doc. 14-3), the award may be made payable to Parmele Law Firm, P.C. Accordingly, it is

ORDERED that:

                1. The Application for Attorney’s Fees is GRANTED; and

                2. An award of attorney fees in the amount of $4,237.25 shall be paid by the Social
                   Security Administration, subject to offset to satisfy any pre-existing debt
                   Plaintiff may owe to the United States.

       IT IS SO ORDERED.

                                                     /s/ David P. Rush
                                                     DAVID P. RUSH
                                                     UNITED STATES MAGISTRATE JUDGE

DATE: January 11, 2021




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